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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


  LABMD, INC.                                  )
                                               )
          Plaintiff,                           )
                                               )
  v.                                           )              Case No.     1:19-cv-852
                                               )
                                               )              TRIAL BY JURY
  THE PRIVACY INSTITUTE                        )              IS DEMANDED
  BRIAN J. TARQUINIO                           )
  ROBERT J. BOBACK                             )
  TIVERSA HOLDING CORP.                        )
  REED SMITH, LLP                              )
                                               )
  -and-                                        )
                                               )
  JARROD D. SHAW                               )
                                               )
          Defendants.                          )
                                               )



                                  COMPLAINT
          Plaintiff, LabMD, Inc. (“LabMD”), by counsel, pursuant to Rule 3 of the Federal

  Rules of Civil Procedure (the “Rules”), files this action against Defendants, The Privacy

  Institute (“Privacy Institute”), Brian J. Tarquinio (“Tarquinio”), Robert J. Boback

  (“Boback”), Tiversa Holding Corp. (“Tiversa”), Reed Smith, LLP (“Reed Smith”), and

  Jarrod D. Shaw (“Shaw”), jointly and severally.

          LabMD seeks (a) compensatory damages, statutory damages (three-fold the

  damages sustained) and punitive damages in the sum of $150,350,000.00, (b)

  prejudgment interest on the principal sum awarded by the Jury from February 25, 2008 to

  the date of Judgment at the rate of six percent (6%) per year pursuant to § 8.01-382 of the
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  Virginia Code (1950), as amended (the “Code), (c) reasonable attorney’s fees in a sum to

  be determined by the Court, but not less than $2,858,023.35, pursuant the rule of law

  announced by the Virginia Supreme Court in Burruss v. Hines and Rule 54(d)(2) of the

  Federal Rules of Civil Procedure, and (d) court costs – arising out of Defendants’ malicious

  prosecution, business conspiracy, and aiding and abetting.

         LabMD also requests the entry of an Order piercing the corporate veil of the Privacy

  Institute and compelling Boback and Tarquinio to pay the Judgment entered in this action

  against the Privacy Institute.

                                    I. INTRODUCTION

         1.      This is a case about conspiracy and corruption that killed the business of a

  small and highly successful cancer-detection laboratory.

         2.      In 2007, Tiversa and agents of the Federal Trade Commission (“FTC”)

  embarked on a clandestine, cooperative mission to hack and shake down law-abiding

  American citizens. After the Federal Bureau of Investigation (“FBI”) gave Tiversa a

  proprietary law enforcement surveillance tool, known as “enhanced peer-to-peer software”

  (“EP2P”), 1 Tiversa used that government surveillance technology to hack and gain

  unlawful access to protected computers on the Internet. Tiversa stole files from those

  computers containing, inter alia, consumers’ federally-protected, private health and

  personal information. Tiversa altered the metadata on those files, and fabricated claims

  that the files had been “exposed” and were “found” by Tiversa on the Internet. Tiversa


         1
                   “The FBI developed EP2P as an investigatory tool. Its source code is
  closely held; it is not shared with or accessible to the agents who use the program, let alone
  the public.” United States v. Chiaradio, 684 F.3d 265, 276-77 (1st Cir. 2012). EP2P is a
  “marvel” of modern technology that was “customized to assist in child pornography
  investigations”. Id.

                                                2
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  then tried to sell “remediation” services to the companies that it had illegally hacked using

  the FBI’s surveillance software, EP2P. Tiversa falsely represented that it could fix the

  putative flaws in the companies’ data security programs that led to the files being

  “exposed”. For companies, such as LabMD, who refused to pay or be shaken down,

  Tiversa, without probable cause and with spite, ill-will and actual malice, turned those

  companies in to the FTC’s attorney/investigators, so the FTC could prosecute those

  innocent companies for violating the Federal Trade Commission Act (the “FTC Act”), Title

  15 U.S.C. § 45(a). 2

         3.      On February 25, 2008, Tiversa illegally hacked into a LabMD computer and

  stole a 1,718-page LabMD insurance aging report (“insuranceaging_6.05.071.pdf”) with

  federally-protected personal health information on over 9,000 patients (the “1718 File”).

  Insurance aging reports were generated by LabMD’s billing department to show accounts

  receivable that had not been paid and so that billing staff could attempt to collect payments

  on outstanding claims from patients’ insurance companies. The June 2007 insurance aging

  report (1,718 File), unlawfully hacked by Tiversa using the FBI surveillance tool, contained

  personal information, such as names, dates of birth, Social Security numbers (“SSNs”),



         2
                  Section 5(a) of the FTC Act declares unlawful “[u]nfair methods of
  competition in or affecting commerce, and unfair or deceptive acts or practices in or
  affecting commerce.” 15 U.S.C. § 45(a)(1). It empowers and directs the FTC “to prevent
  persons, partnerships, or corporations … from using unfair methods of competition in or
  affecting commerce and unfair or deceptive acts or practices in or affecting commerce.”
  Id. § 45(a)(2). In its complaint against LabMD, the FTC alleged that LabMD’s data
  security program was inadequate and thus constituted an “unfair act or practice” under
  Section 5(a) of the FTC Act. The FTC’s entire case was predicated upon Tiversa’s
  intentional falsehoods and misrepresentations. The FTC knew that Tiversa had broken the
  law. Instead of dismissing its complaint and apologizing to LabMD, however, the FTC,
  acting in concert with Tiversa, proceeded full-steam ahead. The malicious prosecution and
  conspiracy between Tiversa and the FTC destroyed LabMD’s business.


                                               3
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  current procedural terminology (“CPT”) codes, and health insurance company names,

  addresses, and policy numbers, for approximately 9,300 patients of LabMD’s physician

  clients.

             4.   As a result of their commercial use of EP2P to hack LabMD’s computer and

  their possession and disclosure of the 1,718 File, Boback and Tiversa committed multiple

  federal and state crimes, including, without limitation, violations of Title 42 U.S.C. §

  1320d-6 (Unlawful Possession and Use of Personal Health Information). Boback and

  Tiversa instigated and cooperated in the FTC enforcement action at issue in this action in

  order to cover-up their many crimes.

             5.   In May 2008, Boback and Tiversa began contacting LabMD to try to sell

  Tiversa’s remediation services to LabMD.

             6.   In these conversations, Boback lied to LabMD. Boback misrepresented that

  it had “found” the 1718 File on a peer-to-peer (“P2P”) file-sharing network, through a file

  sharing application called “LimeWire”. 3 Boback further misrepresented that he “continued



             3
                 LimeWire was a free P2P file sharing client for Windows, OS X, Linux and
  Solaris operating systems. LimeWire used the gnutella network as well as the BitTorrent
  protocol to share and distribute content, primarily music, on the Internet. In 2010, the
  United States District Court for the Southern District of New York entered an injunction
  against LimeWire ruling that the platform intentionally caused a “massive scale of
  infringement” by permitting the sharing of thousands of copyrighted works by its 50
  million monthly users. Arista Records, LLC et al. v. Lime Wire, LLC, Case 1:06-cv-05936
  (S.D.N.Y.) (Document 334 – Consent Injunction)]. Peer-to-peer file-sharing applications,
  such as LimeWire, enable one computer user to make a request to search for all files that
  have been made available for sharing by another (or “host”) computer that is also using the
  file-sharing application. In order for a searcher using LimeWare to receive a search result
  for LabMD’s “insuranceaging_6.05.071.pdf” file, he or she would have to enter the search
  terms “insuranceaging” or “6.05.071”. Both of those searches are highly unusual, and it is
  extremely unlikely that any LimeWire user would ever enter them, demonstrating that the
  1,718 File was hacked by someone who was not using LimeWire. Tiversa did not use
  LimeWire to steal the 1,718 File. It used EP2P. See United States v. Chiaradio, 684
  F.3d 265, 276 (1st Cir. 2012) (EP2P differs from LimeWire in at least three ways).

                                              4
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  to see individuals [on peer-to-peer networks] searching for and downloading copies” of the

  1718 File, i.e. that the 1,718 had “spread” across peer-to-peer networks. 4



         4
                  Tiversa employed the same fraudulent means, methods and practices to
  secure contracts from the United States Government. In February 2009, Boback appeared
  on the Today Show and staged a “real-time” search of P2P networks, pretending that he
  had “discovered” the tax returns of U.S. citizens on computers in four different countries.
  In truth, Boback had remotely accessed Tiversa’s datastore. He created the appearance of
  conducting a search and “finding” sensitive documents on the Internet. Boback leveraged
  his lies and deception to secure a contract with the Department of the Treasury. Tiversa
  secured work with the United States House of Representatives in a similar way. In 2009,
  details of confidential Ethics Committee investigations were “found” on a P2P-enabled
  computer. Tiversa falsely claimed that the information at issue had “spread” through the
  Internet and that Tiversa had found the report on computers in Washington, D.C., New
  York and London. [See https://www.computerworld.com/article/2528771/leaked-house-
  ethics-document-spreads-on-the-net-via-p2p.html]. On May 5, 2009, Boback testified
  before the House Subcommittee on Commerce, Trade and Consumer Protection. He stated
  that “[i]n February of this year [2009], Tiversa identified an IP address on the P2P
  networks, in Tehran, Iran, that possessed highly sensitive information relating to Marine
  One.” What Congress and the American public never knew, however, was that the
  information was not downloaded by anyone in Iran. Instead, Boback instructed Wallace
  to find an IP address in Iran that could be used to perpetrate the fraud. Wallace found an
  address, and Boback proceeded to testify falsely before Congress that Marine One’s
  information was found there. On July 29, 2009, Boback testified before the House
  Oversight and Government Reform Committee. In his written testimony, Boback repeated
  that he had conducted a “live demonstration” for NBC’s Today Show, where “Tiversa was
  able to locate and download over 275,000 tax returns from one brief search of the P2P.”
  [https://republicans-oversight.house.gov/wp-
  content/uploads/2012/01/20090729Boback.pdf].           In his oral testimony, Boback
  misrepresented that Tiversa had found “the entirety of the U.S. nuclear information, all of
  our facilities, everything … [W]e found this in France, in four locations in France.”
  [https://www.govinfo.gov/content/pkg/CHRG-111hhrg54009/html/CHRG-
  111hhrg54009.htm]. Tiversa also habitually defrauded private clients in Virginia. In 2008,
  Tiversa obtained documents from Wagner Resource Group, that included Social Security
  numbers of the firm’s clients, including Supreme Court Justice Stephen Breyer. The
  documents were only found on the computer of a secretary of the firm, who had
  downloaded LimeWire. Boback directed Wallace to falsify a “spread” and informed
  Phylyp Wagner, the founder of the firm, of the “breach.” Wagner contracted with Tiversa
  to provide mitigation services for $10,000 per month based upon Boback’s fraudulent
  statements. Boback then directed Wallace to contact the Washington Post; to use a fake
  name; and to inform the Post reporter (Brian Krebs) that Justice Breyer’s personal data was
  all over the Internet. Krebs published an article entitled, “Justice Breyer Is Among
  Victims in Data Breach Caused by File Sharing”. [http://www.washingtonpost.com/wp-
  dyn/content/article/2008/07/08/AR2008070802997.html].

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         7.      When LabMD did not immediately engage Tiversa to perform

  “remediation” of the alleged “breach”, Boback reminded LabMD that there were state

  “breach” laws that required “immediate notification of the affected individuals”. Boback

  feigned empathy: “I know this breach is troubling.” Boback provided copies of the

  Washington     Post    article   about    Virginia-based     Wagner      Resource     Group

  [http://www.wagnerrg.com/], implying and insinuating that the LabMD “breach” would be

  reported to the press unless LabMD cooperated and hired Tiversa. Boback and Tiversa

  eventually attempted to extort LabMD. Tiversa threatened to report LabMD to the FTC,

  if LabMD did not pay Tiversa to “remediate” the alleged leak of the 1,718 File. After

  LabMD refused to pay and refused to be extorted, Tiversa reported LabMD to the FTC,

  instigating a full-blown enforcement action.

         8.      Fueled and instigated by Tiversa’s lies, the FTC purported to “investigate”

  LabMD for three-and-one half (3½) years.

         9.      The FTC investigation began in 2009. At the request of Tiversa, the FTC

  issued a civil investigative demand (“CID”) to the Privacy Institute 5 to produce copies of



         5
                  The Privacy Institute was incorporated on June 3, 2009. At all times
  relevant to this action, it was a shell corporation used to perpetrate fraud upon LabMD.
  Boback asserts that the Privacy Institute was created for the “singular purpose” of
  responding to the FTC CID. Boback claims that in 2009 Tiversa was in negotiations to
  sell its business to a public company. Boback did not want the CID to interfere with those
  negotiations. Tarquinio, on the other hand, advises that the Privacy Institute was “an entity
  that was established to take bids for either part or all of Tiversa if a company wanted to
  purchase them.” According to Tarquinio, Boback did not inform Tarquinio that the Privacy
  Institute was set up to transmit information to the FTC. The FTC agreed to issue the CID
  to the newly-formed Privacy Institute. Sometime in 2009, prior to issuance of the CID,
  Tiversa transferred the stolen 1,718 File to the Privacy Institute. The FTC did not question
  Tiversa’s use of the Privacy Institute. FTC officials clearly knew that the information was,
  in fact, coming from Tiversa, despite the use of the Privacy Institute. The FTC admitted
  that the use of Tiversa’s information was unusual relative to standard agency operating
  procedures for enforcement measures.

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  documents containing personally identifiable and sensitive information about consumers

  that was “publicly available” 6 on peer-to-peer (P2P) file sharing networks. In response to

  the CID, the FTC obtained from Tiversa a list of companies/persons whose files Tiversa

  had “found” on the Internet. Tiversa called the list “FTC List71609”. The list identified

  LabMD and the 1,718 File.

          10.    In the fall of 2009, representatives of Tiversa, including Boback, met with

  FTC staff (including a member of the FTC’s trial team in the enforcement action that would

  be filed) in Washington, D.C., to discuss Tiversa’s response to the CID. After the meeting

  in Washington, D.C., the FTC instructed Tiversa to manipulate and alter metadata on the

  1,718 File. FTC attorney, Alain Sheer (“Sheer”), expressed concern about the Fourth

  Amendment implications if it was ever discovered that Tiversa had actually obtained the

  1,718 File from a U.S. Citizen (LabMD) by hacking computers using the FBI’s surveillance

  tool.

          11.    In 2012, then-FTC Commissioner J. Thomas Rosch sternly warned against

  relying on information provided by Tiversa. Commissioner Rosch stated that “Tiversa is

  more than an ordinary witness, informant, or ‘whistle-blower.’ It is a commercial entity

  that has a financial interest in intentionally exposing and capturing sensitive files on

  computer networks, and a business model of offering its services to help organizations

  protect against similar infiltrations.” [See, e.g., Dissenting Statement of Commissioner J.




          6
                  Without EP2P, Tiversa would never have hacked into LabMD’s computer,
  would never have stolen the 1718 File, and would never have been able to manufacture the
  false claim that the 1,718 File was “publicly available”. The fact that Tiversa could only
  find the 1718 File with the illegal use of proprietary law enforcement surveillance software
  is proof, in and of itself, that the 1718 File was never “publicly available”.

                                               7
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  Thomas       Rosch,   FTC     File     No.   1023099      (June    21,    2012)    at    1.

  https://www.ftc.gov/sites/default/files/documents/petitions-quash/labmd-inc./1023099-

  labmd-full-commission-review-jtr-dissent.pdf].

         12.     FTC staff did not heed then-Commissioner Rosch’s warning, and also did

  not follow his advice. Instead, acting in concert with Tiversa, FTC complaint counsel

  chose to further commit to and increase its reliance on Tiversa. In the summer of 2013,

  the FTC informed Tiversa that the 1,718 File needed to be found someplace other than

  Georgia – in other words, there needed to be “spread”. The FTC advised Tiversa that it

  needed “more than one computer location” in order to prosecute a case against LabMD.

  Boback and Tiversa manufactured a document to satisfy the FTC’s stated needs. The FTC

  subpoenaed deposition testimony and documents from Tiversa. Boback testified that the

  1,718 File “has been found on a public P2P network as recently as November 2013. It has

  been downloaded from four different Internet Protocol (‘IP’) addresses, including IP

  addresses with ‘unrelated sensitive consumer information that could be used to commit

  identity theft.” Boback’s testimony concerning the “spread” of the 1,718 File between

  2008 and 2013 was knowingly false. 7

         13.     On August 28, 2013, the FTC commenced a prosecution of LabMD under

  Section 5 of the FTC Act. The FTC charged that LabMD failed to provide “reasonable and

  appropriate” security for personal information maintained on LabMD’s computer

  networks, and that this conduct “caused or is likely to cause” substantial consumer injury.



         7
                  In November 2013, Tiversa provided the FTC a document containing four
  (4) additional IP addresses on which Tiversa claimed that it found the 1,718 File. Tiversa
  produced this document in response to a subpoena issued by the FTC. The document –
  which was used by the FTC as part of its prosecution of LabMD – was a complete
  fabrication and forgery manufactured at Boback’s direction.

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  The FTC contended that LabMD was liable for “unfair” acts or practices under § 5(a) of

  the FTC Act.

         14.     In May 2015, during the trial of the FTC’s enforcement action against

  LabMD, a former Tiversa employee and whistleblower, Rick Wallace (“Wallace”),

  testified under criminal immunity that Tiversa’s business model was to “monetize”

  documents that it downloaded from peer-to-peer networks, by using those documents to

  sell data security remediation services to the affected business, including (a) by

  representing to the affected business that the business’ information had “spread” across the

  Internet via peer-to-peer sharing networks, when such was not necessarily the case, and (b)

  by manipulating Tiversa’s internal database of peer-to-peer network downloads (which

  Tiversa called the “Data Store”) to make it appear that a business’ information had been

  found at IP addresses belonging to known identity thieves. Wallace further testified that

  these practices were followed with regard to Tiversa’s discovery of LabMD’s 1718 File.

  Wallace revealed that in order to retaliate against LabMD for refusing to purchase Tiversa’s

  services, Tiversa reported its “discovery” of the 1718 File to the FTC, and that, at the

  direction of Boback, Wallace had manipulated Tiversa’s Data Store to make it appear that

  the 1718 File had been found at four IP addresses, including IP addresses of known identity

  thieves. Wallace confirmed that he had fabricated a list of those IP addresses, which the

  FTC introduced into evidence during the enforcement action as CX0019.

         15.     CX0019 purports to show that Tiversa had downloaded the 1718 File from

  four (4) IP addresses on particular dates and times. Wallace created CX0019, at Boback’s

  direction, in 2013, near the time of Boback’s deposition in the FTC enforcement action, to

  make it appear that the 1718 File had “spread” to IP addresses belonging to known identity




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   thieves, and that the 1718 File had not been found at an Atlanta IP address, when, in fact,

   none of this is true. Boback specifically asked Wallace to include a San Diego IP address.

   Although it was not true, Wallace included on CX0019 the IP address 173.16.83.112 as

   one of the IP addresses where the 1718 File had been found because that IP address

   belonged to an individual in Apache Junction, Arizona, that Wallace believed to be an

   identity thief, based on data in Tiversa's Data Store indicating that the individual at that

   address possessed over 3,000 tax returns that he appeared to be selling. Tiversa had

   approximately twenty (20) IP addresses that it would use when making it appear as if files

   had been “spread” across the Internet, including to identity thieves. Some IP addresses

   were used more frequently than others. For example, Tiversa knew of IP addresses that

   had gone “dead” after law enforcement took action. If Tiversa claimed the 1718 File was

   found at one of these long-gone addresses, such as the IP address at Apache Junction, there

   would be no way to contradict Tiversa’s claim.

          16.     The 1718 File was never found at any of the four (4) IP addresses listed on

   CX0019.

          17.     Wallace’s trial testimony established that Tiversa’s malicious scheme was

   premeditated; that Tiversa acted out of a desire to hurt LabMD after LabMD refused to pay

   for Tiversa’s services; that Tiversa hacked LabMD’s file directly from a LabMD computer,

   and lied about it; and that Tiversa falsified the evidence the FTC used to prosecute LabMD.

          18.     Wallace’s astounding revelations would and should have caused any ethical

   and moral attorney in the pursuit of justice to drop the enforcement action immediately,

   and apologize. However, Boback/Tiversa and the FTC refused to end their conspiracy to

   malicious prosecute LabMD.




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          19.     On November 15, 2015, the Administrative Law Judge found in favor of

   LabMD.

          20.     In his written decision, the Administrative Law Judge made the following

   findings of fact:




          21.     After FTC Commissioners reversed their own Administrative Law Judge, 8

   LabMD appealed the Commissioners’ ruling to the United States Court of Appeals for the

   Eleventh Circuit.



          8
                 Although the FTC Commissioners disregarded the findings of the
   Administrative Law Judge, the Commissioners unanimously agreed that Boback had
   perjured himself:

          “We concur with the ALJ’s conclusions that the testimony of Robert Boback, CEO
          of Tiversa, was not credible or reliable. In particular, we agree that Mr. Boback’s
          assertion that Tiversa had gathered evidence showing that the 1718 file had spread
          to multiple Internet locations by means of LimeWire was false and that the
          document that purported to list Internet locations where the 1718 file had been
          found (CX0019) was unreliable.”

   In the Matter of LabMD, Inc., 2016 FTC LEXIS 128, *91 (F.T.C. July 28, 2016) (citations
   to record omitted), vacated, LABMD, Inc. v. FTC, 894 F.3d 1221 (11th Cir. 2018).


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          22.     During oral argument on July 3, 2017 before the United States Court of

   Appeals for the Eleventh Circuit in LabMD v. FTC, Case No. 16-16270, the Court of

   Appeals expressed particular concern about Tiversa and its sordid dealings with the FTC: 9

                  THE COURT:          Mr. Hoffman [FTC’s Appellate Counsel], is there –
          is there any concern on the part of the government how this information was
          imparted to the FTC? This company, Tiversa, doesn’t come in here with clean
          hands, does it?

                MR. HOFFMAN:          Well, certainly Tiversa has engaged in some
          misconduct in connection with the –

                THE COURT:              Was there collusion between Tiversa and the
          government?

                  MR. HOFFMAN:          No.

                   THE COURT:             Well, Counsel, let me put it this way. What – the
          aroma that comes out of the investigation of this case is that Tiversa was shaking
          down private industry with the help of the FTC, will go to the – with the threat of
          going to the FTC. ‘If you don't cooperate we will go to the FTC.’ It may well be
          how they got some of their clients. But that’s – that’s an aroma that – and with
          falsifications to the Commission. The Administrative Law Judge just shredded
          Tiversa’s presentation, just totally annihilated it.

                  MR. HOFFMAN:          I’m sorry. I mean –

                  THE COURT:            I – I – and –

                 MR. HOFFMAN:           So, I mean, what’s – what’s – what’s – what’s –
          what’s the question?

                  THE COURT:            That – that was a – just a – just an observation.
          …

                  MR. HOFFMAN:         So I – I mean, my – my … my observation is that –
          is that … Tiversa – Tiversa’s conduct is not really what’s at issue here. I mean,
          there’s no question … that Tiversa engaged in serious, serious misconduct in
          connection with this –



          9
                  An audio recording of the oral argument in the referenced appeal is
   available at http://www.ca11.uscourts.gov/oral-argument-recordings. The transcribed
   portions quoted herein begin at 23:18 and end at 25:30.

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                  THE COURT:             No, and got the Commission involved in their – in
          their shakedowns.

                  MR. HOFFMAN:           I – I don’t – I don’t agree with that.

                  THE COURT:             Oh, Counsel. Come on.

                  MR. HOFFMAN:           I don't agree with that.

                 THE COURT:            Oh, you – I know, you can’t agree with it. But it
          should have become obvious after … the evidence collapsed and your – and
          complaint counsel couldn’t go any further.

          23.     On June 6, 2018, the United States Court of Appeals for the Eleventh Circuit

   vacated the decision of the FTC Commission.

          24.     The FTC did not appeal, ending LabMD’s 10-year odyssey.

          25.     The FTC prosecution of LabMD ended in a manner favorable to LabMD.

          26.     LabMD brings this action to recover for the special injuries and other losses

   caused by the malicious prosecution of the FTC enforcement action instigated by and with

   the cooperation of the Defendants.

                                         II. PARTIES

          27.     LabMD is a corporation organized under the laws of the State of Georgia.

   It was founded in 1996. Its principal place of business was Atlanta. The sole shareholder,

   President and CEO of LabMD is Michael J. Daugherty (“Daugherty”). Daugherty is a

   citizen of Virginia. Daugherty controls the business and affairs of LabMD from his place

   of business within the Alexandria Division.

          28.     Between 2001 and 2014, LabMD was in the business of conducting clinical

   laboratory tests on urological specimen samples from patients and reporting the test results

   to its physician customers. LabMD provided uro-pathology cancer detection services to

   urologists who wanted their patients’ tissue samples analyzed by pathologists who


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   specialized in prostate cancer or bladder cancer.      During the period LabMD was

   operational, LabMD tested samples from patients in multiple states. The patients whose

   samples LabMD tested and from whom LabMD collected payments were located

   throughout the United States, including Virginia.

           29.       Given the nature of its work, LabMD was subject to data-security

   regulations issued under the Health Insurance Portability and Accountability Act of 1996,

   known colloquially as “HIPAA”.        LabMD was a “covered entity” under HIPAA.

   [https://privacyruleandresearch.nih.gov/pr_06.asp; https://www.cms.gov/regulations-and-

   guidance/administrative-simplification/hipaa-aca/areyouacoveredentity.html].      LabMD

   maintained and employed a data-security program in an effort to comply with those

   regulations. 10

           30.       LabMD’s business was very successful. From January 1, 2005 through

   February 10, 2014, LabMD’s total revenue was approximately $35-40 million. LabMD’s

   peak annual revenue was approximately $10 million. From 2005 through 2012, LabMD’s

   approximate blended profit margin was 25%.            In 2013, LabMD’s revenue was

   approximately $2 million. In January 2014, LabMD began winding down its operations.

   At that time, LabMD stopped accepting specimen samples and conducting tests. By letter

   dated January 6, 2014, LabMD notified its physician clients that it would not be accepting

   new specimens after January 11, 2014, and that all test results would be provided in the

   following week. LabMD further told its physician clients that LabMD would be closed for




           10
                LabMD’s program included a compliance program, training, firewalls,
   network monitoring, password controls, access controls, antivirus, and security-related
   inspections.


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   telephone calls and internet access after January 15, 2014, and that for the remainder of

   2014, requests for past results or to obtain specimens for second opinions, could be made

   by facsimile. As of the start of the evidentiary hearing in the FTC enforcement action in

   May 2014, LabMD’s operations were limited to preserving tissue samples for LabMD’s

   physician clients, so the physicians could send out slides for second opinions, and to

   providing test results to physicians if they did not have them. 11

          31.     Defendant, Privacy Institute, is a Delaware corporation. Privacy Institute is

   a dummy, stooge, alter ego and instrumentality of Defendants Tarquinio and Boback that

   was created solely to perpetrate fraud on LabMD and to aid, abet and facilitate Boback and

   Tiversa’s malicious prosecution of LabMD. Boback asked his financial advisor, Tarquinio,

   to be the President of the Privacy Institute. Tarquinio accepted the request as a favor to

   Boback. Tarquinio is a money manager for UBS. See, e.g.:

          http://financialservicesinc.ubs.com/team/wtlgroup/meetourteam.html;

          http://financialservicesinc.ubs.com/fa/briantarquinio/index.html;

          https://www.linkedin.com/in/brian-tarquinio-138a52/.

   In 2009, Tarquinio managed a portfolio of investments for Boback and/or Tiversa. The

   Privacy Institute was, at all relevant times, undercapitalized and insolvent. It paid no

   dividends. Boback and Tarquinio commingled the Privacy Institute’s corporate affairs

   with their personal affairs; disregarded corporate formalities; and failed to maintain

   corporate records. The officers and directors of the Privacy Institute, if they had any, were

   completely non-functional. Upon information and belief, the sole officer, director and




          11
                  LabMD is no longer in clinical operation, but still exists as a company and
   continues to secure its computers and the patient data stored within them from Virginia.

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   shareholder (on paper only) was Tarquinio. The Privacy Institute’s “principal office” was

   Tarquinio’s office at UBS. The Privacy Institute had no employees; it had no bank

   accounts; and conducted no business except for acting as a conduit to transfer files and

   information to the FTC. The Privacy Institute was dissolved on June 18, 2013. On the

   certificate of dissolution, the address for Tarquinio is that of Boback’s uncle.

          32.       Defendant, Tiversa, is or was a Delaware corporation. Tiversa is no longer

   operational. Tiversa was a “P2P intelligence” company that offered data breach detection

   and remediation services to clients it blackmailed. On its website (no longer operational),

   Tiversa claimed that its “patented technologies” allowed it to conduct 1.8 billion searches

   on 500 million computers every day. At all times relevant to this action, Tiversa transacted

   continuous business in Virginia and derived substantial income from that business. Among

   Tiversa’s largest Virginia customers was the Transportation Security Administration

   (“TSA”). 12

          33.       Defendant, Boback, is a citizen of Florida. He was a chiropractor. His

   medical license was suspended indefinitely shortly after he founded Tiversa in 2004.

   [https://www.dos.pa.gov/ProfessionalLicensing/LicensingServices/2005/ChiropracticOct

   ober2005.pdf].     Boback lived in the Pittsburgh area until the FBI raided Tiversa

   headquarters on March 1, 2016.

          34.       In July 2007, Boback hired Wallace as a “forensic engineer” and analyst.

   Wallace’s job as a forensic engineer included searching for exposed files on peer-to-peer




          12
                  To obtain the contract with the TSA, Boback falsely reported to the TSA
   that information about sensitive checkpoint and security measures had been found on
   computers in Yemen, Columbia and Kenya. In fact, the file was found only at a single
   computer, attributable to a TSA employee and located within the United States.

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   networks, and recording the information disclosed, including the company that had the

   disclosure, and when the information was disclosed. This information would be included

   on a spreadsheet that Tiversa analysts would update several times a day. The purpose of

   the spreadsheet was so that Boback and the Tiversa sales force could make sales calls to

   the affected companies. When Wallace, or any other analyst at Tiversa, downloaded a file

   that was deemed significant, Boback would be advised, and Boback would make the

   decision as to how to proceed to “monetize” the file; i.e., whether the information would

   be given to a salesperson, or whether Boback himself would contact the company, to try to

   sell Tiversa’s services. Tiversa would monetize information it obtained from peer-to-peer

   networks either by selling a monitoring contract, pursuant to which Tiversa would search

   for certain key words for a period of time, or by selling a “one-off” service, that would

   remediate just the existing disclosure problem. A Tiversa monitoring services contract for

   a large financial company could cost as much as a million dollars per year, down to a few

   thousand dollars per month for monitoring contracts for small "mom and pop" companies.

   When a company refused to purchase Tiversa’s services, Boback would often respond, in

   reference to that company, to the effect of, “you think you have a problem now, you just

   wait.” Thereafter, an analyst of Tiversa would input information into Tiversa’s Data Store

   so as to make that company’s information “proliferate” in Tiversa’s Data Store and thereby

   make it appear that a file had “spread” to multiple places. Tiversa could use this Data Store

   “evidence” to follow up with a company to try again to get the company to purchase

   Tiversa’s remediation services. When a company refused to purchase Tiversa’s services

   after being contacted by Tiversa about a disclosure, Tiversa would need an excuse to make

   contact with the company again, so it would contact the company to report that the file had




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   proliferated, or “spread,” to additional IP addresses, including IP addresses of known “bad

   actors” or identity thieves. Part of Wallace’s job for Tiversa was to make it appear that a

   company’s file had “spread” to more IP addresses, including to IP addresses of identity

   thieves. He did this by placing files he might have found outside Tiversa’s searching

   system into a folder in the Data Store and making it appear that Tiversa had located and

   downloaded the file from the IP address of a known bad actor. As far as the Data Store

   sees it, the file was downloaded from that IP address, but in reality no data transferred.

          35.     Defendant, Reed Smith, is a limited liability partnership. None of Reed

   Smith’s partners is a citizen of Georgia. Reed Smith is an international law firm with

   offices throughout Virginia, including Richmond and Tysons (McLean), Virginia:

          https://www.reedsmith.com/en/offices/richmond;

          https://www.reedsmith.com/en/offices/tysons.

          36.     Defendant, Shaw, is, upon information and belief, a citizen of Pennsylvania.

          37.     One or more agents of the FTC who conspired with Privacy Institute,

   Boback and Tiversa to prosecute LabMD, including lead prosecutor, Laura R. VanDruff

   (“VanDruff”), and Carl H. Settlemyer, Jr. (“Settlemyer”), who actively undertook the

   malicious prosecution at issue, live and/or work in Virginia. A substantial part of the events

   or omissions giving rise to LabMD’s claims occurred in Virginia.

                             III. JURISDICTION AND VENUE

          38.     The United States District Court for the Eastern District of Virginia has

   subject matter jurisdiction over this action pursuant to Title 28 U.S.C. § 1332. The parties

   are citizens of different States and the amount in controversy exceeds the sum or value of

   $75,000, exclusive of interest, costs and fees.




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             39.    The Defendants are subject to personal jurisdiction in Virginia pursuant to

   Virginia’s long-arm statute, § 8.01-328.1(A)(1), (A)(3) and (A)(4) and § 8.01-328.1(B) of

   the Code, as well as the Due Process Clause of the United States Constitution. They are

   subject to both general and specific personal jurisdiction in Virginia. They engaged in

   continuous and systematic business in Virginia. They conspired with citizens of Virginia

   to harm LabMD. They have minimum contacts with Virginia such that the exercise of

   personal jurisdiction over them comports with traditional notions of fair play and

   substantial justice and is consistent with the Due Process Clause of the United States

   Constitution.

             40.    Venue is proper in the Alexandria Division of the United States District

   Court for the Eastern District of Virginia pursuant to Title 28 U.S.C. § 1391(b)(1) and

   (b)(2).

                   IV. STATEMENT OF ADDITIONAL MATERIAL FACTS

             41.    In order to perpetrate its crimes on LabMD and others, including businesses

   located in Virginia, Tiversa used several tools to search for and download computer files.

   Tiversa never sought permission and never had authority at any time to access LabMD’s

   protected computers or to download any files on those computers. Tiversa obtained and

   converted information from protected computers, including those belonging to LabMD,

   even though it knew that most of what it searched for, found and downloaded was never

   intended to be shared by the owners of the computers it hacked. 13



             13
                  Tiversa’s actions in hacking LabMD’s computers violate § 1030(a)(2)(C)
   of the Computer Fraud and Abuse Act (“CFAA”), Title 18 U.S.C. § 1030(a)(2)(C), and
   numerous other federal and state civil and criminal laws including, without limitation, Title
   42 U.S.C. § 1320d-6 (Unlawful Possession and Use of Personal Health Information) and §
   18.2-152.3 of the Virginia Code (Computer Fraud).

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          42.      One of the tools used by Tiversa to search for, access and download files

   on the Internet was a software program Tiversa called “Eagle Vision”.

          43.    Another tool used by Tiversa to search for, access and download files was

   EP2P – the FBI proprietary law enforcement surveillance software and hardware tool

   owned by the United States Government (the “FBI Surveillance Tool”).

          44.    In approximately 2007, the Pittsburgh Office of the FBI installed a

   dedicated FBI-only DSL line on a Tiversa computer, so that Wallace could use the FBI

   Surveillance Tool to search for, access and download files from protected computers.

   Upon information and belief, the FBI never authorized Tiversa to hack LabMD’s computer;

   never knew that Tiversa had done so; and knew nothing about Boback and Tiversa’s

   arrangement with the FTC or their efforts to extort money from LabMD and other

   businesses in Virginia and elsewhere.

          45.    The FBI Surveillance Tool was not owned or developed by Tiversa. The

   Tool is owned by the United States Government and is used by the FBI primarily for

   investigating child pornography. The FBI Surveillance Tool had more capabilities to

   search for, access and download files from peer-to-peer networks than standard off-the-

   shelf peer-to-peer software programs, such as LimeWire. Boback and Tiversa used the

   FBI Surveillance Tool to steal the 1,718 File from LabMD.

          46.    At all times relevant to this action, Privacy Institute, Tarquinio, Boback,

   Tiversa, Reed Smith, Shaw, and the FTC each knew that Tiversa’s illegal practice of

   accessing and taking files from protected computers without authorization or permission

   violated numerous Federal and State laws.




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          47.     Attorney/investigators at the FTC, who were responsible for the relationship

   with and use of Tiversa, include, but are not limited to, Sheer, Ruth Yodaiken, Settlemyer

   and VanDruff. In 2007, Tiversa began acting in concert with these persons to unlawfully

   access protected computers for the purpose of obtaining consumer data that the FTC hoped

   would lead to prosecutions under the FTC Act.

          48.     Tiversa used the FBI Surveillance Tool to assist the FTC in identifying

   potential enforcement targets. Tiversa also used the Government surveillance software for

   its own commercial purposes and for commercial gain, including stealing the 1,718 File

   from LabMD and using the 1,718 File to extort money from LabMD.

          49.     On May 13, 2008, Boback called LabMD to inform it that Tiversa had

   “found” LabMD’s 1718 File on the Internet and that Tiversa was available to help LabMD

   remediate the alleged “leak” of the File. Boback lied to LabMD and fraudulently concealed

   the fact that Tiversa had used the FBI Surveillance Tool to surreptitiously hack directly

   into a LabMD protected computer to steal the 1718 File from LabMD.

          50.     After Tiversa’s initial call, LabMD duly investigated and determined that,

   unbeknownst to LabMD, LimeWire was installed on a LabMD billing computer. Upon

   discovery in May 2008, LabMD removed the LimeWire application immediately.

          51.     Boback’s May 13, 2008 call to LabMD was the first act in a series of

   aggressive efforts to intimidate and coerce LabMD into purchasing Tiversa’s

   “remediation” services. Tiversa also used attorneys and threats to coerce LabMD into

   hiring Tiversa. On November 21, 2008, for instance, Jim Cook, an attorney hired by

   Tiversa’s chairman of the board, Joel Adams, misrepresented to an attorney for LabMD

   that Tiversa was “concerned” that it had to report its “finding” of the 1718 File to the FTC.




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   Cook’s implicit threat to turn LabMD into the FTC did not motivate LabMD to hire

   Tiversa.

          52.     When Boback learned that Daugherty refused to do business with Tiversa,

   Boback said to Wallace, “F--- him. Make sure he’s at the top of the list” for investigation

   by the FTC. The “list” was a spreadsheet that Tiversa was preparing for the FTC that

   included the names of companies whose files had been stolen by Tiversa and who refused

   to hire Tiversa to remediate Tiversa’s breaches (the “List”). The List included public

   companies, banks, schools, numerous health providers, insurers, etc. Most of the names

   on the List did business in Virginia.

          53.     Tiversa’s scheme was the same for each company on the List. Tiversa

   hacked confidential files from those companies, sent the stolen files to the potential

   “customers”, told the potential customers, fraudulently, that the disclosed files had spread

   to additional computers on the internet, including computers of known bad actors (i.e.,

   identity thieves), and tried to extort the companies into buying Tiversa’s services.

          54.     The FTC, Privacy Institute, Boback, Tiversa, Reed Smith and Shaw

   combined, associated and acted together for the purpose of maliciously prosecuting

   LabMD for violation § 5(a) of the FTC Act. Tiversa’s phone records are telling of the

   company’s relationship with the FTC, and proof that the parties acted in concert. The

   phone records indicate that Tiversa employees placed two phone calls to FTC attorney

   VanDruff in June 2008, and, in the four months between March 2009 and July 2009,

   Tiversa employees called Sheer at his FTC office on 21 occasions. Boback was one of the

   FTC’s main contacts at Tiversa prior to July 2009. Regular phone calls between Tiversa

   and the FTC took place between August 2009, when Tiversa provided information to the




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   FTC through the Privacy Institute, and January 2010, when the FTC sent letters to nearly

   all of the companies Tiversa and the Privacy Institute turned over to the FTC, including

   LabMD. During these six (6) months, Tiversa employees called Sheer 34 times.

          55.     Boback and Tiversa had special advance knowledge that the FTC intended

   to prosecute LabMD and other the companies identified in the documents and information

   turned over by the Privacy Institute in response to the CID. Boback and Tiversa acquired

   this insider information from the FTC. Armed with material non-public information and

   knowledge of these impending FTC actions, Tiversa maneuvered to position itself to profit

   from the FTC’s actions. In the fall of 2009, Boback began working with LifeLock, a major

   partner of Tiversa and Tiversa’s largest source of income, to send letters to the companies

   that would be contacted by the FTC – the very companies that Tiversa turned over to the

   FTC. In October 2009, Boback e-mailed senior LifeLock executives about the impending

   FTC investigations. Boback explained that the Washington Post planned to “shame”

   companies into addressing the problem, and that the upcoming FTC investigations

   presented a unique opportunity for LifeLock and Tiversa to profit. In early October 2009,

   Boback advised LifeLock that “the FTC letters did not go out yet so the companies will

   not know what you are talking about … yet.” He further advised that LifeLock should

   “suggest Tiversa if asked by the company”.

          56.     By letter dated January 19, 2010, FTC attorney Sheer informed LabMD that

   the FTC was “conducting a non-public inquiry into LabMD’s compliance with federal law

   governing information security.” Sheer’s letter states, “[a]ccording to information we have

   received, a computer file (or files) from your computer network is available to users on a

   peer-to-peer file sharing (‘P2P’) network (hereinafter, ‘P2P breach’).” The source of




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   Sheer’s false statement was Tiversa. In truth, in 2010 when Sheer wrote the letter, no

   LabMD files were available to anyone using peer-to-peer file sharing software. LabMD

   had removed the offending LimeWire from its billing computer in May 2008. Sheer knew

   that LabMD found and removed the offending software the day Tiversa contacted LabMD

   in 2008. Before he penned the January 19, 2010 letter, Sheer knew that Tiversa was the

   only source of the 1,718 File. There was no probable cause or plausible reason for the FTC

   to investigate LabMD – the 1718 File was not available or “spreading” anywhere and there

   was no substantial injury as required by 15 U.S.C. § 45(n). 14

          57.     On February 22, 2010, the FTC publicly announced that it had notified

   “almost 100 organizations” about data breaches that occurred on peer-to-peer file sharing

   networks, and that it had opened non-public investigations into several other companies.

   https://www.ftc.gov/news-events/press-releases/2010/02/widespread-data-breaches-

   uncovered-ftc-probe].    Boback sent the link to executives at LifeLock.            LifeLock

   responded, “Once again you guys are at the top of the food chain. Any problem with us

   pushing this with media and using you?” Boback promptly replied, “No problem.”

          58.     Boback could not have known the details of the FTC’s investigations –

   including the timing of the January 2010 letters, which constituted pre-decisional

   information about pending non-public government actions – without some sort of inside

   information concerning the FTC’s enforcement plans. The insider tips, upon information

   and belief, came from Sheer and VanDruff. It is clear that Tiversa and the FTC shared a




          14        In truth, the FTC knew that Tiversa’s files were falsified and doctored prior
   to the investigative letters going out to nearly 100 companies in January 2010. Tiversa
   stole the files, doctored them, then the FTC told Tiversa to doctor them a different way by
   striping the metadata completely out.

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   common goal and had a mutually beneficial relationship. As a Congressional Oversight

   Committee would conclude in 2015, “the FTC used Tiversa as the source of convenient

   information used to initiate enforcement actions, and Tiversa used the FTC to in

   further pursuing the company’s coercive business practices.” (Emphasis added).

            59.   In early (spring) 2010, Boback told Wallace that the FTC was concerned

   with the collection of information on U.S. citizens and that it was better to leave that type

   of data out.

            60    In approximately July 2010, Boback advised Wallace to create “spread”

   regarding LabMD and to show additional IP addresses where the 1,718 file was allegedly

   found.    Wallace used three (3) IP addresses that Tiversa previously connected to

   fraud/criminal activity and provided those IP addresses to Boback. Wallace also had to

   create and store records in Tiversa datasets in what was commonly referred to as the

   “storeroom”. Wallace created records making it appear he had found the 1,718 File at three

   other locations (IPs) and altered date/time stamps (also referred to as “metadata”) as well

   as filenames to make it appear that he found the LabMD records on those three IPs around

   the same period as he found the records at the Atlanta location.

            61.   Wallace had done something like this before for Boback. At Boback’s

   direction , Wallace had created records to make it look like some Pentagon/DoD documents

   had been found in China.

            62.   Wallace considered fabrication of IP addresses and the alteration of

   metadata to be “dirty” work.

            63.   On December 22, 2011, the FTC served LabMD with a CID.

            64.   LabMD moved to quash the CID, but was not successful.




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          65.     On July 19, 2013, Daugherty posted a promotional trailer on the Internet for

   a new book, Devil Inside the Beltway – a book Daugherty had written about his 3 ½ year

   ordeal with Tiversa and the FTC. The book, which was published in mid-September 2013,

   exposed Tiversa’s theft of the 1718 File, the confidential relationship between the FTC and

   Tiversa, and the FTC and Tiversa’s abuse and destruction of Daugherty’s small cancer

   detection laboratory.

          66.     Upon review of Daugherty’s trailer for Devil Inside The Beltway, the FTC

   retaliated, ended its “investigation” and, within a month, began prosecution of LabMD

   based upon the documents and information supplied by Privacy Institute, Boback and

   Tiversa.

          67.     Tiversa’s use of the FTC as a retaliatory weapon against LabMD was

   extremely costly, disruptive and harmful to LabMD and Daugherty, causing substantial

   special damages and actual damages. However, the FTC prosecution afforded LabMD the

   right to take certain discovery from Boback, Tiversa and the FTC, and thereby expose: (1)

   Boback, Tiversa and the Privacy Institute’s instigation of the FTC investigation and

   subsequent prosecution; (2) Boback and Tiversa’s collusion with the FTC; (3) Boback,

   Tiversa and the Privacy Institute’s fraudulent business practices; (4) Boback and Tiversa’s

   lies regarding the 1718 File; and (5) Boback and Tiversa’s illegal use of the FBI

   Surveillance Tool to spy on and steal from American citizens, including LabMD

   (collectively the “Concealed Misconduct”).

          68.     In response to the threat of exposing the Concealed Misconduct and to

   prevent LabMD from succeeding in its battle against the FTC, Boback and Tiversa

   escalated their malicious efforts to harm LabMD. Boback and Tiversa (a) terminated




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   Wallace, who refused to lie for Tiversa in the FTC’s enforcement action; (b) hired private

   investigators (CSI and InPax) to investigate, intimidate, harass, photograph, track, trail,

   antagonize and surveil witnesses and their family members to prevent witnesses from

   testifying against Boback and Tiversa; (c) contacted the Gartner Group, Black Hat and

   other organizers of events where Daugherty would be speaking to defame and impugn the

   character of Daugherty and LabMD in order to undermine LabMD and Daugherty and ruin

   their reputations; (d) directed Tiversa employee, Keith Tagliaferri (“Tagliaferri”), to create

   a false report regarding the “spread” of the 1718 File and submit that false report to

   Congress during a congressional investigation into the sordid relationship between Tiversa

   and the FTC; (e) coordinated efforts with and assisted the FTC in its prosecution of

   LabMD; (f) gave false testimony (Boback) in two depositions in the FTC’s enforcement

   action; (g) interfered with LabMD’s efforts to obtain immunity against prosecution for

   Wallace – a Whistleblower; (h) with the assistance of their non-Government lawyers, Reed

   Smith and Shaw, published and republished lies about LabMD, including, without

   limitation, February 10, 2015 statements published in the Pathology Blawg and December

   9, 2015 statements published in The Wall Street Journal, and lies about Tiversa’s “finding”

   the 1718 File on the computers of known bad actors, all in an effort to assist the FTC in the

   prosecution of LabMD; (i) fabricated supporting evidence for the FTC to use in its

   prosecution of LabMD; (j) coerced Tiversa chief technology officer, Anju Chopra, to sign

   a materially misleading affidavit; and (k) upon information and belief, conspired with

   former United States Attorney, Mary Beth Buchanan, to conceal Tiversa’s illegal use of

   the FBI Surveillance Tool.




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            69.    On September 5, 2013, Boback wrote and sent an internal email to Tiversa

   employees, Dan Kopchak and Molly Trunzo. In the email, Boback admitted the following

   facts:

            “In 2008, while doing work for a client, our systems downloaded a file (1,718 page
            pdf) that contained sensitive information including SSNs and health information
            for over 9000 people. The file had the name “LabMD” in both the header of the
            file and the metadata. The IP of the download was found to be in Georgia, which
            after a Google search, is where we found LabMD’s office to be located.”

            70.    In or about October 2013, Boback directed Wallace to create another

   document showing “spread” of the 1,718 File to be sent to the FTC. Boback told Wallace

   that this document needed to show that the 1,718 File had been found at a San Diego IP

   address, not an Atlanta address. Boback also told Wallace to modify the date on the

   document to show that the 1,718 File had been found in San Diego in February 2008.

   Boback stood over Wallace as Wallace fabricated the document.            Boback gave the

   document to the FTC and the FTC used the document as an exhibit (CX0019) in its

   prosecution of LabMD.

            71.    Reed Smith and Shaw actively aided and abetted Boback and Tiversa in the

   malicious prosecution of LabMD.          Reed Smith and Shaw actively and regularly

   communicated and collaborated with the FTC on behalf of Boback and Tiversa. By letter

   dated October 17, 2013 to LabMD’s counsel, Reed Smith and Shaw misrepresented the

   following:

            “[T]he evidence will indisputably show that Tiversa and Mr. Boback did not access,
            take, ‘invade’ or ever obtain the File through a LabMD computer.”

   Reed Smith and Shaw knew this statement was false. Boback’s September 5, 2013 email

   in Reed Smith and Shaw’s possession proved that Tiversa downloaded the 1718 File

   directly and only from a LabMD computer in Atlanta, Georgia, on February 25, 2008. In


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   the same October 17, 2013 letter, Reed Smith and Shaw repeated the fabricated story about

   Tiversa finding the 1718 File on a computer in San Diego:

          “Moreover, the evidence will also show that [Boback and Tiversa] accessed the File
          through a computer located in San Diego – and not the LabMD Computer – with
          an Internet Protocol Address of 68.107.82.250. Thus, any and all statements
          asserting or implying that the Plaintiffs accessed the File through a LabMD
          computer are demonstrably incorrect.”

   Shaw and Reed Smith knew this statement was false and that Boback had fabricated

   evidence of the “spread”.

          72.    In furtherance of the scheme to maliciously prosecute LabMD under the

   FTC Act, Reed Smith and Shaw also aided and abetted the concealment of evidence. On

   November 1, 2013, in response to a subpoena served on Tiversa by the FTC, Shaw and

   Reed Smith produced documents to FTC attorney, VanDruff, under a cover letter marked

   “Private and Confidential.” Even though the subpoena called for its production, Shaw and

   Reed Smith concealed the September 5, 2013 email in which Boback admitted that Tiversa

   downloaded the 1718 File directly from LabMD’s computer. Instead, Shaw and Reed

   Smith produced the document, admittedly fabricated by Wallace (CX0019), purporting to

   show that Tiversa located and downloaded the 1718 File (with file name

   “insuranceaging_6.05.071”) from four (4) computers on the internet at the following IP

   addresses and on the following dates and times:

    IP Address                   Date                          Time

    68.107.85.250                02/05/2008                    @ 3:49pm
    173.16.83.112                11/05/2008                    @ 11:26pm
    201.194.118.82               4/7/2011                      @ 2:22am
    90.215.200.56                6/9/2011                      @ 8:13am

   The document produced by Shaw and Reed Smith to the FTC was embraced and used by

   the FTC in its enforcement action against LabMD. It is infamous Exhibit CX0019. The


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   FTC used the false evidence in this document to argue that LabMD allowed the 1718 File

   to spread through cyberspace.

             73.   Reed Smith and Shaw also produced four (4) copies of the 1718 File to the

   FTC, representing that each had been downloaded from the IP locations in CX0019. These

   representations were knowingly false.

             74.   CX0019 and the four (4) copies of the 1718 File produced by Shaw and

   Reed Smith were created by Tiversa and Boback to deceive Administrative Law Judge,

   Michael D. Chappell, who presided over the FTC’s enforcement action against LabMD,

   and to help the FTC prevail over LabMD at any cost.

             75.   In addition to the fabrication of evidence, Boback, Tiversa, Reed Smith and

   Shaw concealed an internal document proving that Tiversa downloaded the 1718 File

   directly and solely from a LabMD computer in Atlanta.

             76.   On or about April 18, 2008, Tiversa prepared and sent to its client, CIGNA,

   a forensic report regarding the 1718 File (the “CIGNA Report”). The CIGNA Report states

   that “[a]fter reviewing the IP address resolution results, meta-data and other files, Tiversa

   believes it is likely that LabMD near Atlanta, Georgia is the disclosing source [of the 1718

   File].”

             77.   On November 21, 2013, Boback knowingly and falsely testified in the FTC

   enforcement action that Tiversa found the 1718 File on computers at the four (4) locations

   identified in CX0019. Boback falsely testified that the computers were located in San

   Diego, California; Apache Junction, Arizona; London, England; and San Jose, Costa Rica.

   In furtherance of the FTC’s position, Boback testified that those computers were known to

   have been used by identity thieves and other bad actors.




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          78.     On January 30, 2014, LabMD served a subpoena on Wallace for a

   deposition to be taken in the FTC enforcement action. Boback told Wallace that he must

   lie at his deposition and not disclose the Concealed Misconduct. Boback cornered Wallace

   in an elevator at work and told him, “This is what you are going to say in your deposition

   so that our stories match.” Wallace told Boback he would not lie under oath. Boback

   responded by saying, “No, this is what you are going to say.” Boback went so far as to

   pull out his firearm, point it at Wallace and threaten to harm Wallace if he revealed the

   Concealed Misconduct.

          79.     In February 2014, Boback threatened Wallace that he would cancel

   Wallace’s insurance if he (Boback) was not given access to Wallace’s medical records. In

   an effort to tamper with, harass and intimidate Wallace, to prevent Wallace from disclosing

   the Concealed Misconduct, and to assist the FTC in its prosecution of LabMD, Boback

   called Wallace’s health care provider and falsely represented that Wallace was a rogue

   employee who had been on probation many times over the course of his employment. In

   yet another violation of 42 U.S.C. § 1320d-6 (Unlawful Possession and Use of Personal

   Health Information), Boback and Tiversa gave a copy of Wallace’s medical records to the

   police, and told the police to “keep an eye” on Wallace.

          80.     On February 26, 2014, Shaw informed LabMD’s counsel that Wallace was

   “no longer available” to be deposed due to an “unexpected medical issue.”

          81.     On April 2 and April 3, 2014, Wallace called Daugherty to blow the whistle

   on Tiversa and Boback. Wallace reported the following, inter alia, to Daugherty:




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          ●      Wallace resigned from Tiversa on April 1, 2014, after Boback demanded
                 that Wallace lie under oath to the United States Government.

          ●      The four IP addresses given to the FTC were not the sources of the 1,718
                 File.

          ●      Boback lied when he stated under oath to the FTC that Tiversa found the
                 1718 File on four IP addresses and downloaded the File from a San Diego,
                 California location, which is not a LabMD workstation IP address.

          ●      The 1718 File was never found anywhere other than a LabMD computer.

          82.    At or around the time Wallace terminated his employment at Tiversa,

   Boback, Tiversa, Reed Smith and Shaw hired and directed private investigators, CSI

   Investigations, Inc. (“CSI”) and Sam Rosenberg of InPax, to intimidate, harass,

   photograph, videotape, track, trail, antagonize, surveil and leave threatening notes for

   Wallace and his family. Tiversa, Boback, and their private investigators intimidated,

   harassed and threatened Wallace and his family in numerous ways in order to prevent

   Wallace from disclosing the Concealed Misconduct and to assist the FTC in its prosecution

   of LabMD. Examples of their misconduct include, but are not limited to, the following:

          ●      On June 3, 2014, Wallace found a note on Tiversa letterhead in the
                 refrigerator in his shed, which read, “ICU!”

          ●      Also on June 3, 2014, the electrical cords on some of Wallace’s power tools
                 had been cut and their border collie dogs had been let out after Wallace’s
                 wife had locked them in the house.

          ●      On the morning on June 26, 2014, Boback followed Wallace’s car on 1-79
                 in Pittsburgh and began to alternate between passing Wallace, following
                 Wallace, and slowing down in front of Wallace. Wallace tried to pass
                 Boback who then tried to run Wallace off the road.

          ●      On or about June 30, 2014, a Ford Crown Victoria pulled into Wallace’s
                 driveway. Two individuals who exited the car falsely claimed they were
                 investigative agents and asked if they could come inside his home.




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          ●       In mid-July 2014, while Wallace’s wife and the Wallace children were in
                  Montana at a family reunion, the doorbell to the Wallace’s home rang
                  multiple times during the night. The Wallace’s doorbell rang less frequently
                  when Wallace’s and the Wallace children were home, but it continued on a
                  weekly basis. The doorbell stopped after Wallace testified before the FTC.

          ●       The garage door to the Wallace home opened “on its own” randomly
                  multiple times per day. The random garage door opening stopped after
                  Wallace testified before the FTC.

          ●       Boback and Tiversa had the Wallace home under surveillance. On or about
                  November 8, 2014, a Tiversa IT employee told Wallace’s wife that Boback
                  had installed a camera on the Wallace’s property and had been recording
                  them. The employee said he saw the surveillance feed because he was asked
                  to open a port on one of Tiversa’s computers so that Boback could access
                  the feed. The employee said the last images he had seen were of the
                  Wallace’s son getting out of the car at the end of the driveway. The son
                  inadvertently stepped on the camera as he went to pick something up.

          ●       On or about October 20, 2014, Wallace’s wife found a note in the Wallace
                  mailbox that read, “WATCH OUT.”

          ●       On April 15 or 17, 2015, about one month before Wallace was scheduled to
                  testify as a witness for LabMD in the FTC enforcement action, Wallace saw
                  that someone had written in pink chalk at the end of his driveway “U R
                  DEAD.”

          ●       When Wallace and his wife arrived at the Mayflower Hotel just before
                  Wallace’s testimony in the FTC enforcement action, Ms. Wallace was told
                  by the front desk attendant at the Mayflower Hotel that a “Mr. Boback” had
                  canceled the reservation.

          83.     In early June 2014, in furtherance of the scheme to maliciously prosecute

   LabMD, Boback directed Tagliaferri to prepare a report containing false information

   regarding the alleged “spread” of the 1718 File (the “Tagliaferri Report”). The Tagliaferri

   Report contains, inter alia, the following false information:

          “The 6 additional IP addresses were detected in possession of the 1,718 page
          ‘Insurance Aging’ Report (insuranceaging_6.05.071.pdf) on various dates within
          the disclosure date ranges referenced above.”




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          “These 6 IP addresses possess additional files including federal tax returns relating
          to numerous individuals, credit reports. credit card and bank account statements,
          passports. Usernames and passwords to online accounts, medical patient data, lists
          of credit card numbers, social security numbers, instructions on how to hack and
          steal passwords etc. Tiversa classifies these 6 additional IP addresses as
          Information Concentrators.”

          “Throughout our extensive P2P research, Tiversa continues to see individuals
          harvesting a large number of files containing confidential and sensitive data.
          Tiversa calls these individuals ‘Information Concentrators’ and in most cases, they
          are suspicious in nature … Information Concentrators gather this information and
          could potentially use it for malicious purposes.”

          84.     The misconduct of Privacy Institute, Boback, Tiversa and the FTC did not

   go unnoticed by the United States Government.

          85.     In or around August 2014, the United States House of Representatives

   Oversight and Government Reform Committee (the “OGR Committee”) initiated an

   investigation into the business practices of Tiversa and its relationship with the FTC.

          86.     On November 14, 2014, the United States Attorney issued Wallace a grant

   of immunity pursuant to 18 U.S.C. § 6002.

          87.     On April 20, 2015, Reed Smith and Shaw sent affidavits of Boback and

   Anju Chopra, Tiversa’s chief technical officer, to VanDruff, FTC’s lead counsel in the

   enforcement action against LabMD. Reed Smith and Shaw provided those affidavits to the

   FTC in furtherance of the prosecution of LabMD and in order to help the FTC discredit

   Wallace and to prove with false and misleading information and documents that Tiversa

   found and downloaded LabMD’s 1718 File from computers at four (4) or more different

   locations on the Internet.

          88.     On May 5, 2015, Wallace testified under immunity in the FTC enforcement

   action. He disclosed the following bombshell facts:




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         ●    On February 25, 2008, Tiversa located the 1718 File on a LabMD computer
              near Atlanta, Georgia.

         ●    Tiversa never found the 1718 File anywhere other than on a LabMD
              computer.

         ●    In April 2008, Tiversa reported to CIGNA, one of its customers, that Tiversa
              had located LabMD’s 1718 File on a LabMD computer at a LabMD IP
              address near Atlanta, Georgia.

         ●    Tiversa reported the “disclosure” of the 1718 File to CIGNA in the hope
              that CIGNA would pressure LabMD to become a Tiversa client.

         ●    It was Tiversa’s practice to create Incident Record Forms for Boback and
              others at Tiversa to use as a list of prospective customers. Tiversa would
              make cold calls to the prospective companies to describe the “problem” the
              companies were having and to offer Tiversa’s remediation services.

         ●    At Boback’s direction, Tiversa employees would manipulate the data in
              Tiversa’s data repositories to make it appear that prospective customers’
              files had spread to other locations on the peer-to-peer networks. This was
              often done to give Boback a reason to contact a prospective customer again.
              Boback would report, for example, that a prospective customer’s computer
              file had spread to computers owned by known identify thieves.

         ●    Tiversa would never tell prospective customers where their files were
              found. Tiversa would claim that the IP address of the source computers
              were not recorded. Wallace said this was a lie – Tiversa always knew the
              IP addresses of the source computers.

         ●    Wallace testified about the List (an exhibit marked as RX 551). Wallace
              explained that the companies on the List were chosen “so that the FTC
              would contact them and notify them of a data breach and hopefully we
              would be able to sell our services to them.”

         ●    In the fall of 2009, Boback, Wallace and other Tiversa employees travelled
              to Washington, D.C. to discuss the 1,718 File with the FTC.

         ●    After their return from D.C., Boback contacted people on the List to tell
              them that the FTC would be taking action against them if they did not
              become Tiversa clients.

         ●    Boback told Wallace to include LabMD on the List in retaliation for LabMD
              not hiring Tiversa.




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          ●      At some point before Boback’s deposition in the FTC enforcement action
                 on November 21, 2013, Boback told Wallace to change the data in Tiversa’s
                 Data Store to make sure that the 1718 File did not appear to have come from
                 the Atlanta area. Boback directed Wallace “that under no circumstances
                 can the insurance aging file originate from a Georgia IP address or an
                 Atlanta area IP address. And in addition to that, [Boback] told [Wallace] to
                 find an individual in San Diego to include with this list.”

          89.    On May 15, 2015, Congressman Darrell E. Issa released a Staff Report from

   the House Oversight and Government Reform Committee (“OGR”), entitled, “Tiversa,

   Inc.: White Knight or High-Tech Protection Racket?” that was prepared on January 2, 2015

   (the “OGR Report”). The key findings of the OGR Report are as follows:




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          90.     The OGR Report contains the following conclusions regarding Boback and

   Tiversa’s actions:




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          91.    Despite Wallace’s testimony in the FTC enforcement action, despite the

   clear and unimpeachable findings in the OGR Report, despite the FTC’s recognition that

   CX0019 and Boback’s testimony were false, and despite the September 5, 2013 email and



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   the CIGNA Report, Privacy Institute, Boback, Tiversa, Reed Smith and Shaw pressed

   forward with the malicious prosecution of LabMD.

          92.     The FTC prosecution of LabMD finally terminated in 2018. During the

   course of this malicious prosecution, Privacy Institute, Boback, and Tiversa committed

   multiple federal and state crimes:

                  a.     It is a crime under 42 U.S.C. § 1320d-6(a) for a person to knowingly

   obtain or disclose individually identifiable health information relating to an individual if

   the information is maintained by a covered entity and the person obtained or disclosed such

   information without authorization. 42 U.S.C. § 1320d-6(b)(3) provides that if the offense

   is committed with intent to use individually identifiable health information for commercial

   advantage, the offender should be fined not more than $250,000, imprisoned not more than

   10 years, or both.

                  b.     It is a crime under 18 U.S.C. § 1030(a)(2)(C) to intentionally access

   a protected computer without authorization and to obtain information that computer, and a

   felony to do so for commercial advantage or private commercial gain.

                  c.     It is a crime under 18 U.S.C. § 1001 to knowingly and willfully

   falsify, conceal or cover up “by any trick, scheme, or device a material fact”; to make “any

   materially false, fictitious, or fraudulent statement or representation”; or to make or use

   “any false writing or document knowing the same to contain any materially false, fictitious,

   or fraudulent statement or entry” in “any matter within the jurisdiction of the executive,

   legislative, or judicial branch of the Government of the United States.”

                  d.     It is a crime under 18 U.S.C. § 1505 to “corruptly” “influence[],

   obstruct[], or impede[] or endeavor[] to influence, obstruct, or impede the due and proper




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   administration of the law under which any pending proceeding is being had before any

   department or agency of the United States….” The term “corruptly” means “acting with

   an improper purpose, personally or by influencing another, including making a false or

   misleading statement, or withholding, concealing, altering, or destroying a document or

   other information.” 18 U.S.C. § 1515(b); see also U.S. v. Blackwell, 459 F.3d 739, 761-62

   (6th Cir. 2006).

                      e.     It is a crime under 18 U.S.C. § 1519 to “knowingly alter[], destroy[],

   … conceal[], cover[] up, falsif[y], or make[] a false entry in any record, document, or

   tangible object with the intent to impede, obstruct, or influence the investigation or proper

   administration of any matter within the jurisdiction of any department or agency of the

   United States….”

                      f.     It is a crime under 18 U.S.C. § 371 to conspire to do any of the acts

   enumerated in subparaghs a-e above.

           93.        Privacy Institute, Boback, and Tiversa violated 42 U.S.C. § 1320d-6(a),

   18U.S.C. § 1001, 18 U.S.C. § 1030(a)(2)(C), 18 U.S.C. § 1505, 18 U.S.C. § 1519, and 18

   U.S.C. § 371.

                            COUNT I – MALICIOUS PROSECUTION

           94.        LabMD states a claim for malicious prosecution. More specifically, (a)

   Privacy Institute, Boback, Tiversa, Reed Smith and Shaw initiated, instigated and/or

   assisted and actively cooperated in the FTC enforcement proceeding against LabMD, (b)

   the proceeding terminated in a manner not unfavorable to LabMD, (c) the proceeding was

   instituted without probable cause, and (d) Privacy Institute, Boback, Tiversa, Reed Smith

   and Shaw acted with malice, out of a controlling motive other than a good faith desire to




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   further the ends of justice, enforce obedience to the FTC Act, suppress unlawful conduct,

   or see that the guilty are punished. Stanley v. Webber, 260 Va. 90, 95-96, 531 S.E.2d 311

   (2000); Giant of Virginia, Inc. v. Pigg, 207 Va. 679, 684, 152 S.E.2d 271 (1967) (malice

   may be inferred from the lack of probable cause).

          95.     Privacy Institute, Boback, Tiversa, Reed Smith and Shaw’s malicious

   prosecution of LabMD was egregious, vile and contemptuous, especially in light of the

   extreme efforts undertaken to lie under oath, fabricate evidence, suborn perjury, tamper

   with witnesses and obstruct justice.

          96.     Because of Privacy Institute, Boback, Tiversa, Reed Smith and Shaw’s

   malicious prosecution, LabMD suffered substantial damage and incurred loss, including,

   but not limited to, special injuries, destruction of its business, financial injury and loss of

   good will, damage to its name and reputation, attorney’s fees, and other out-of-pocket

   expenses in an amount to be determined by the Jury, but not less than $50,000,000.00.

          97.     As a result of Privacy Institute, Boback, Tiversa, Reed Smith and Shaw’s

   malicious prosecution, LabMD seeks compensatory damages and punitive damages, as

   well as attorney’s fees pursuant to the rule of law announced by the Virginia Supreme

   Court in Burruss v. Hines, 94 Va. 413, 26 S.E. 875, 878 (1897) (“The general rule is that

   counsel fees are not recoverable as damages; but on the trial of an action for malicious

   prosecution or false imprisonment, where exemplary damages are recoverable, the fees

   paid or incurred to counsel for defending the original suit or proceeding may be proved,

   and, if reasonable and necessarily incurred, may be taken into consideration by the jury in

   the assessment of damages.”).




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                           COUNT II – BUSINESS CONSPIRACY

          98.     Beginning in 2007 and continuing through June 2018, Privacy Institute,

   Boback, Tiversa, Reed Smith and Shaw, acting as individuals, combined, associated,

   agreed or acted in concert together and with agents of the FTC, including Sheer and

   VanDruff, for the express purposes of injuring LabMD in its trade and business. In

   furtherance of the conspiracy, the Defendants engaged in a joint scheme the unlawful

   purpose of which was to maliciously prosecute LabMD under the FTC Act. At all times

   during the course of the conspiracy, Reed Smith and Shaw acted illegally, fraudulently and

   outside the scope of their employment as attorneys for Tiversa and Boback.

          99.     The Defendants acted intentionally, purposefully, without lawful

   justification, and with the express knowledge (a) that Boback and Tiversa had committed

   multiple federal crimes when Tiversa hacked LabMD’s computers and obtained and

   distributed the 1,718 File, (b) that the evidence supplied by Privacy Institute, Boback, and

   Tiversa was totally fabricated, and (c) that Boback had both committed perjury and

   suborned perjury in furtherance of the conspiracy to maliciously prosecute LabMD.

   Defendants acted with the express and malicious intent to injure LabMD and destroy its

   business.

          100.    The Defendants’ actions constitute a business conspiracy in violation of §

   18.2-499 of the Code.

          101.    As a direct result of the Defendants’ willful misconduct, LabMD suffered

   damage and incurred loss, including, but not limited to, injury to its trade and business,

   injury to its reputation, attorney’s fees, court costs, and other damages in the sum of

   $50,000,000.00 or such greater sum as is determined by the Jury.




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          102.    In accordance with § 18.2-500 of the Virginia Code, LabMD seeks the

   recovery of three-fold the damages it sustained in the sum of $150,000,000.00.

                           COUNT III – AIDING AND ABETTING

          103.    The law recognizes a cause of action for aiding and abetting an intentional

   tort. See, e.g., Tysons Toyota, Inc. v. Globe Life Ins. Co., 45 F.3d 428, at * (4th Cir. 1994)

   (“Under Virginia law, one who aids and abets a third party’s breach of fiduciary duty may

   be held liable for providing such assistance”) (citing Patteson v. Horsley, 70 Va. (29 Gratt.)

   263, 270-271, 273, 276 (1877)); Priester v. Small, 2003 WL 21729900, at * 5 (Loudoun

   Cir. 2003) (recognizing a cause of action for aiding and abetting) (citing Daingerfield v.

   Thompson, 74 Va. (33 Gratt.) 136, 149-150 (1880) (“He who commands or procures

   another to do an unlawful act, is as responsible as a trespasser as he who commits the

   trespass.”)); Sherry Wilson and Co., Inc. v. Generals Court, L.C., 2002 WL 32136374, at

   * 1 (Loudoun Cir. 2002) (“On two occasions the Supreme Court of Virginia has recognized

   the right of an injured plaintiff to recover damages against person who aids and abets the

   principal actor. More recently, Judge Kathleen H. Mackay has found claim founded upon

   the aiding and abetting of a fraud was sufficient to withstand demurrer. Kieft v. Becker,

   2002 Va. Cir. LEXIS 33 (Fairfax County 2002). Thus, unlike some jurisdictions, it may

   be said that the common law of the Commonwealth has looked with favor upon recovery

   in tort against those who aid and abet others in the commission of the civil wrong for which

   damages may be maintained.”); see Quinn v. Knight, 2016 WL 6471462, at * 4 (E.D. Va.

   2016) (even if the claim of aiding and abetting is not to be treated as a separate tort, “it

   appears to be a viable alternative theory to secure joint liability.”) (citing All. Tech. Group

   v. Achieve 1, LLC, 2013 WL 143500, at * 5 (E.D. Va. 2013)).




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          104.    Privacy Institute, Reed Smith and Shaw aided and abetted the malicious

   prosecution of LabMD, and are, therefore, jointly liable with Boback and Tiversa for that

   tort. Sherry Wilson & Co., Inc. v. Generals Court, L.C., 2002 WL 32136374, at * 1

   (Loudoun Cir. 2002) (“Complainant questions whether Virginia recognizes a separate tort

   action for aiding and abetting a fraud. On two occasions the Supreme Court of Virginia

   has recognized the right of an injured plaintiff to recover damages against person who aids

   and abets the principal actor. Thus, one who encouraged another to commit an assault

   could be held liable for the injury resulting from the other's actions. Daingerfield v.

   Thompson, 74 Va. (33 Gratt.) 136 (1880). Similarly, one who assists another to breach his

   fiduciary duty to the beneficiaries of a trust may be held jointly and severally liable for the

   losses sustained as a result of such breach. Patteson v. Horsley, 70 Va. (29 Gratt.) 263

   (1877). More recently, Judge Kathleen H. Mackay has found claim founded upon the

   aiding and abetting of a fraud was sufficient to withstand demurrer. Kieft v. Becker, 2002

   Va. Cir. LEXIS 33 (Fairfax County 2002), See also Tysons Toyota, Inc. v. Globe Life

   Insurance Co., 1194 U.S.App. LEXIS 36692 (4th Cir. 1994)).                Thus, unlike some

   jurisdictions, it may be said that the common law of the Commonwealth has looked with

   favor upon recovery in tort against those who aid and abet others in the commission of the

   civil wrong for which damages may be maintained. In order to recover damages against

   one who aids and abets in the commission of a fraud, it must be shown that not only the

   underlying fraud was committed but, “... that there was knowledge of this fraud on the part

   of the aider and abettor, and substantial assistance by the aider and abettor in the

   achievement of the fraud, and that damages to the plaintiff were proximately caused

   thereby.” 37 Am.Jur.2d Fraud and Deceit § 302 (2002)); see id. Priester v. Small, 2003




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   WL 21729900, at * 5 (Loudoun Cir. 2003) (“while there is a difference of opinion between

   the judges of this Circuit as to the existence of the cause of action for aiding and abetting,

   this Court has previously ruled, consistent with the authorities set forth above, that such a

   cause of action exists.”) (citing Patteson v. Horsley, 70 Va. (29 Gratt.) 263, 270 (1877)

   (one who assists another to breach his fiduciary duty to the beneficiaries of a trust may be

   held jointly and severally liable for the losses sustained as a result of such breach – “Any

   other disposition of any part of the trust subject made by the trustees in any other manner,

   was a breach of trust by them for which they were responsible, as also were any other

   persons who may have knowingly participated with them in such breach of trust.”);

   Daingerfield v. Thompson, 74 Va. (33 Gratt.) 136, 149-150 (1880) (“It is no excuse or

   justification of Daingerfield to say that he did not fire the pistol which caused the injury.

   He was the aider and abettor and instigator of Harrison, who fired the fatal shot, and he,

   himself, admits that it was fired at his advice and instigation … The firing of the pistol was

   in itself an unlawful act, and advised and instigated by him, he must take the consequences

   of the result. He who commands or procures another to do an unlawful act, is as responsible

   as a trespasser as he who commits the trespass. Jordan v. Wyatt, 4 Gratt. 151. And although

   the act committed was done without malice, yet being unlawful, the party committing it or

   aiding or abetting in its commission, is responsible in damages to the party injured”));

   Tysons Toyota, Inc. v. Commonwealth Life Ins., 1990 WL 10039336, at * 2 (Fairfax Cir.

   1990) (“A defendant who aids and abets in the commission of a tort may be jointly liable

   for that tort, but he is not liable for a separate tort of aiding and abetting.”).

           105.    Privacy Institute, Reed Smith and Shaw aided and abetted Boback and

   Tiversa’s intentional tort of malicious prosecution by, inter alia, (a) receiving the stolen




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   1,718 File from Boback and Tiversa and transferring the stolen property to the FTC, (b)

   providing fabricated evidence to the FTC, and (c) by concealing documents from the FTC.

          106.    As a direct result of these Defendants’ willful misconduct, LabMD suffered

   damage and incurred loss, including, but not limited to, injury to its trade and business,

   injury to its reputation, attorney’s fees, court costs, and other damages in the sum of

   $50,000,000.00 or such greater sum as is determined by the Jury.

                     COUNT IV – PIERCING THE CORPORATE VEIL

          107.    Privacy Institute was the alter ego, alias, stooge, or dummy of Boback,

   Tarquinio and Tiversa. Privacy Institute was a device or sham created by Boback and

   Tarquinio for the sole purpose of facilitating, aiding and abetting the malicious prosecution

   of LabMD, disguising and obfuscating Boback and Tiversa’s wrongdoing, obscuring

   Boback and Tiversa’s fraud, and concealing Boback and Tiversa’s crimes.

          108.    LabMD requests the entry of an Order piercing the corporate veil of the

   Privacy Institute, and imposing personal liability on Boback and Tarquinio for payment of

   the Judgment entered against the Privacy Institute in this action.



                      CONCLUSION AND REQUEST FOR RELIEF

          WHEREFORE, LabMD respectfully request the Court to enter Judgment against

   the Defendants, jointly and severally, as follows:

          A.      Compensatory damages in the amount of $50,000,000.00;

          B.      Treble damages in the sum of $150,000,000.00;

          C.      Punitive damages in the amount of $350,000.00 or the maximum amount

   allowed by law;




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          D.     Prejudgment interest at the rate of 6% per year on the Principal Sum

   awarded by the Jury from February 25, 2008 to the date of Judgment;

          E.     Postjudgment interest at the rate of six percent (6%) per annum until paid;

          F.     Reasonable Attorney’s Fees and Costs;

          G.     Such other relief as is just and proper.



                            TRIAL BY JURY IS DEMANDED



   DATED:        June 26, 2019



                                 LABMD, INC.



                                 By:    /s/ Steven S. Biss
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